                   IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF KANSAS


IN RE:
      Mark H Engen
      Maureen E. Engen
                          Debtors,                         Case No: 15-20184-13



                TRUSTEE'S MOTION TO ALLOW AMENDED CLAIM 9
                         OF ECAST SETTLEMENT CORP

        COMES NOW, W.H. Griffin, Trustee, and shows the Court the above-named creditor
has filed an amended claim against the estate of the Debtors which changes the previous orders
allowing claims.


        The Trustee has examined the claim and recommends to the Court it be deemed allowed
as follows:


As a UNSECURED claim in the amount of $1,506.61 at 0.00% Interest. Percent Allowed: 0.00




       WHEREFORE, the Trustee prays the foregoing claim be allowed as set forth above.


Dated: August 26, 2019                          /s/ W.H. Griffin
                                                W.H. Griffin #8060
                                                5115 ROE BLVD
                                                SUITE 200
                                                ROELAND PARK, KS 66205-2393
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